                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In re: Primary Providers of Alabama, Inc.      )           Case No.: 18-83207-CRJ11
                                               )
       EIN: xx-xxx9960                         )
                                               )
              Debtor.                          )           CHAPTER 11
                                                )




             DEBTOR’S FIRST AMENDED DISCLOSURE STATEMENT
          PURSUANT TO SECTION 1125 OF THE BANKRUPTCY CODE WITH
              RESPECT TO DEBTOR’S PLAN OF REORGANIZATION




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Dated: May 16, 2019




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              FIRST AMENDED DISCLOSURE STATEMENT PURSUANT TO
                  SECTION 1125 OF THE BANKRUPTCY CODE WITH
                 RESPECT TO DEBTOR’S PLAN OF REORGANIZATION


THIS FIRST AMENDED DISCLOSURE STATEMENT HAS BEEN PREPARED BY THE
DEBTOR AND DESCRIBES THE TERMS AND PROVISIONS OF THE DEBTOR’S PLAN
OF REORGANIZATION (THE "PLAN"). ANY TERM USED IN THIS DISCLOSURE
STATEMENT THAT IS NOT DEFINED HEREIN HAS THE MEANING ASCRIBED TO
THAT TERM IN THE PLAN.

                                              I.
                                        INTRODUCTION
       This First Amended Disclosure Statement Pursuant to Section 1125 of the Bankruptcy Code
with respect to the Debtor’s Plan of Reorganization (the " Disclosure Statement") relates to the
Debtor’s Plan of Reorganization (the "Plan").

       THE DEBTOR BELIEVES THAT THE PLAN IS IN THE BEST INTERESTS OF
CREDITORS AND INTEREST HOLDERS, AND URGES ALL CREDITORS TO VOTE IN
FAVOR OF THE PLAN. CREDITORS ARE ENCOURAGED TO READ AND CONSIDER
CAREFULLY THIS ENTIRE DISCLOSURE STATEMENT, INCLUDING THE PLAN OF
REORGANIZATION ATTACHED HERETO.

       OBJECTIONS TO CONFIRMATION OF THE PLAN MUST BE IN WRITING, STATE
THE NATURE AND AMOUNT OF CLAIMS OR INTERESTS HELD OR ASSERTED BY THE
OBJECTOR AGAINST THE DEBTOR’S ESTATE OR PROPERTY, THE BASIS FOR THE
OBJECTION, AND THE SPECIFIC GROUNDS THEREFOR, AND SHALL BE FILED WITH
THE COURT AND SERVED UPON THE DEBTOR AND THEIR COUNSEL IN THE MANNER
SET FORTH IN THE ORDER TO BE ISSUED BY THE BANKRUPTCY COURT UPON
APPROVAL OF THIS DISCLOSURE STATEMENT.

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       NO PERSON IS AUTHORIZED BY THE DEBTOR TO GIVE ANY INFORMATION OR
MAKE ANY REPRESENTATIONS IN CONNECTION WITH THE PLAN OR THE
SOLICITATION OF ACCEPTANCES OF THE PLAN OTHER THAN AS CONTAINED IN THIS
DISCLOSURE STATEMENT AND THE ATTACHMENTS HERETO. THE DELIVERY OF THIS
DISCLOSURE STATEMENT WILL NOT UNDER ANY CIRCUMSTANCES IMPLY THAT ALL
OF THE INFORMATION IS CORRECT AS OF ANY TIME SUBSEQUENT TO THE DATE
HEREOF.

       INFORMATION CONTAINED HEREIN REGARDING THE DEBTOR, ITS BUSINESS,
ASSETS AND LIABILITIES HAS BEEN PROVIDED BY THE DEBTOR. WHERE STATED,
THE DEBTOR HAS RELIED ON INFORMATION PROVIDED BY ADVISORS. THE DEBTOR
DISCLAIMS ANY RESPONSIBILITY FOR THE ACCURACY OF THAT INFORMATION. THE
DEBTOR AND ITS ADVISORS ARE UNAWARE OF ANY FALSE OR MISLEADING
STATEMENT THAT WOULD MATERIALLY AFFECT A HYPOTHETICAL, INFORMED
INVESTOR'S DETERMINATION ON HOW TO VOTE ON THE PLAN.

       THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED BY THE SECURITIES
AND EXCHANGE COMMISSION ("SEC"), NOR HAS THE SEC PASSED UPON THE
ACCURACY OR ADEQUACY OF THE INFORMATION CONTAINED HEREIN.

                                                  II.
                GENERAL INFORMATION CONCERNING THE DEBTOR AND
         CERTAIN EVENTS PRECEDING THE DEBTOR’S CHAPTER 11 FILING

A.     General Description of the Debtor’s Business.

       Primary Providers of Alabama Inc. (the “Debtor”) is a family medical practice located in
Huntsville, Alabama. Sole shareholder Jason Allman (“Mr. Allman”) formed the Debtor on
November 3, 2009 under the name Allman Family Medicine, P.C. (“AFM”). The Debtor operates a
medical clinic providing general physician services for its patients. The Debtor’s business is
currently located at 1878 Jeff Rd, Ste G, Huntsville, AL 35806.

       The Debtor rents its business premises from the Monrovia Investment Group, 1892 Jeff
Road, Huntsville, AL 35806. Neither the Debtor nor its officers, directors, or shareholder have any
ownership interest in the Debtor’s business premises.

       All chattel property of the Debtor, including computers, furniture and equipment, is located at
its business premises and listed in the Debtor’s filed Schedules A and B. Mr. Allman does not
personally own any of the chattel property used by the Debtor in its business.
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        The Debtor has two directors and officers: Mr. Allman – it’s President and his wife, Dr.
Katarina Allman (“Dr. Allman”) – it’s Chief Medical Officer. During this Chapter 11 case, Mr.
Allman has been paid an average monthly salary of $5,100.00 and Dr. Allman has been paid an
average monthly salary of $12,300.00 by the Debtor. The Debtor presently has twelve employees,
including Mr. Allman.

        The Debtor filed this Chapter 11 after experiencing several years of significant cash flow
problems due to the recent expansion of the company to include a second medical practice located in
Madison, Alabama. The Debtor needed the Chapter 11 process as a means of protection from
creditors while sorting out its financial affairs in an orderly and fair manner.

        The Debtor’s business is now viable and ongoing, and the Debtor continues to function as
Debtor-in-Possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code. During the
pendency of this case, the Debtor has continued business operations, paid its ongoing operating
expenses, and kept up with its 11 U.S.C. § 503 administrative expenses. The Debtor further expects
its profitability to increase as variable expenses from the closure of the second medical practice
decrease and its patient panel grows. The Debtor expects its profitability to increase as its focus is
now directed on running the business efficiently as it has obtained legal counsel to assist it in
proposing a feasible and fair Plan of Reorganization.

B.      Financial Condition of the Debtor; Events Necessitating Chapter 11 Protection.

        Prior to the petition filing, the Debtor acquired a second medical clinic in Madison, Alabama
(the “Second Clinic”). The Debtor also changed its name on November 7, 2016 to Primary Providers
of Alabama, Inc. (“PPA”). The Second Clinic became a financial problem several months after
acquisition. The Debtor determined that the Second Clinic was unprofitable, inefficient, and not
sustainable moving forward.

        Closing the Second Clinic and subsequent consolidation of both medical practices at the
original Huntsville, Alabama location has improved the Debtor’s financial outlook. With
consolidation, overhead expenses have been reduced and the patient panel now has more stability
with all the medical providers in one location. A summary of the Debtor’s monthly operating reports
is attached hereto collectively as Exhibit “A.”

        Despite the adversity experienced over the past several years, the Debtor is currently
experiencing steady cash flow. The relief from collections provided by bankruptcy protection and the
focus on core business activities have resulted in a better overall operating and increased
profitability. As seen in the Debtor’s financial projections attached as Exhibit “E” and discussed in

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the sections below, it expects growing profitability in the years to come to allow it to meet its Plan
obligations.

        Because the Debtor anticipates a positive cash flow, it anticipates being able to pay all
administrative expenses pursuant to its the Plan of Reorganization without any significant diminution
to the Estate.

C.      Debtor’s Ownership and Management History.

        As stated above, Mr. Allman formed the Debtor as an Alabama corporation on November 3,
2009 under the name AFM, and changed it to PPA on November 7, 2016 following the acquisition of
the Second Clinic. Mr. Allman owns 100% of the Debtor’s outstanding stock. He is also listed in the
Office of the Alabama Secretary of State as the registered agent for the Debtor. The Debtor is taxed
as a sub-chapter S corporation.

        The Debtor projects that, following confirmation of the Plan, Mr. Allman will remain the
entity’s only shareholder and the company’s President, and Dr. Allman will remain its Chief Medical
Officer. The Debtor projects that it will not add any other/new officers or directors.

                                                  III.
                                       THE CHAPTER 11 CASE

A.      Commencement of the Case.

        On October 26, 2018, the Debtor filed an emergency petition to commence with this Court a
voluntary case under Chapter 11 of the Bankruptcy Code. The Debtor continues to operate the
business as Debtor-in-Possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

B.      First Day Relief.

        Soon after the Petition Date, the Debtor sought a variety of forms of relief, typically referred
to as "First Day" relief, although the hearings took place over the next several weeks. Initially, the
Debtor sought and the Court approved the retention of Sparkman, Shepard & Morris, P.C., as
bankruptcy counsel.

        In addition, the Debtor received the Court's approval of a variety of routine motions allowing
it, among other things, to fix the procedure for periodic interim allowance of compensation and
expenses for the Debtor’s attorneys.




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C.      Formation of Unsecured Creditors' Committee.

        Soon after the commencement of this case, the Bankruptcy Administrator for the Northern
District of Alabama sent out a letter soliciting participation by the Debtor’s unsecured creditors for
an Official Committee of Unsecured Creditors. However, due to the meager response, the
Bankruptcy Administrator did not appoint an Unsecured Creditors' Committee in this case.

D.      Significant Events During the Case.

        Since the beginning of this case in Chapter 11, the majority of the Debtor’s attention and
resources have been focused on running the business and reviewing creditor claims. Aside from
engaged in normal operations, as otherwise discussed in this Disclosure Statement, the Debtor reports
no other significant events occurring during the pendency of this case.

E.      Assets and Liabilities of the Debtor.

        1.      Debtor’s Major Assets.

                a.      Unrestricted Cash and Short-Term Investments.

        Debtor had approximately $26,599.61 in cash and in bank accounts as reflected by the
Debtor’s filed Schedule B as of the petition filing date.

                b.      Real Estate.

        The Debtor does not own any real property.

                c.      Personal Property.

        As of the petition filing date, the Debtor had inventory booked at $30,000.00 but unlawful to
resell (vaccines and related medical supplies), and thus valued at $100.00; office equipment valued at
$10,000.00; general intangibles worth $10.00; and a counterclaim cause of action against a former
employee with a demand amount of $44,000.00. However, the action’s value is highly speculative, as
reflected by the Debtor’s amended filed Schedule B.

                d.      Accounts Receivable.

        The Debtor had $59,580.00 in collectible accounts receivable under 90 days old and
$313,150.00 in doubtful or uncollectible accounts account receivable, as reflected by the Debtor’s
amended filed Schedule B.




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                e.      Causes of Action.

        Aside from the potential lawsuit counterclaim listed above in Section (III)(E)(1)(c) and
disclosed in the Debtor’s Schedule B, the Debtor is not aware of any causes of action, and no other
adversary proceedings or state court actions are pending. However, the Debtor continues to
investigate possible causes of action or setoffs it might have.

        With respect to possible preference actions, any entity or person who received a payment or
other property from the Debtor within the 90 days before the Petition Date (or one year before the
Petition Date if the entity or person is an insider, as defined in Section 547(b)(4)(B) of the
Bankruptcy Code) is a potential target by the Debtor for a preference action under Section 547 of the
Bankruptcy Code.

        The Debtor is evaluating the scheduled and filed claims, including priority tax claims, and
may object to these claims either before or after confirmation. All causes of action of the Debtor,
whether arising under the Bankruptcy Code or otherwise, are reserved and retained by the Debtor.

        2.      Liabilities.

        The Debtor listed liabilities totaling $1,337,818.33, as reflected by the Debtor’s amended
filed Schedules D-F.

                                                   IV.
                                       SUMMARY OF PLAN

A.      Overview.

        THIS SECTION PROVIDES A SUMMARY OF THE CLASSIFICATION AND
TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN AND THE MEANS
FOR IMPLEMENTATION OF THE PLAN, AND IS QUALIFIED IN ITS ENTIRETY BY
REFERENCE TO THE PLAN. ALL CAPITALIZED TERMS USED BUT NOT DEFINED IN
THIS SECTION HAVE THE MEANINGS ASCRIBED TO SUCH TERMS IN THE PLAN.

B.      Treatment of Administrative Expense Claims and Priority Tax Claims.

        1.      Administrative Expense Claims.

        Except to the extent that a holder of an Allowed Administrative Expense Claim has been paid
by a Debtor prior to the Effective Date or agrees to less favorable treatment, as provided for by this
Plan, each holder of an Allowed Administrative Expense Claim shall receive Cash from the Debtor
obligated for the payment of such Allowed Administrative Expense Claim in an amount equal to the

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Allowed amount of such Administrative Expense Claim on the later of the Effective Date and the
date such Administrative Expense Claim becomes an Allowed Administrative Expense Claim, or as
soon thereafter as is practicable; provided, however, that Allowed Administrative Expense Claims
representing liabilities incurred in the ordinary course of business by a Debtor or other obligations
incurred by such Debtor shall be paid in full and performed by such Debtor in the ordinary course of
business in accordance with the terms and subject to the conditions of any agreements governing,
instruments evidencing, or other documents relating to such transactions.

        2.    Professional Compensation and Reimbursement Claims.

        Other than a professional retained by the Debtor pursuant to the Ordinary Course
Professional Order, any entity seeking an award of the Bankruptcy Court of compensation for
services rendered and/or reimbursement of expenses incurred on behalf of the Debtor and any
Creditors’ Committee through and including the Effective Date under Section 105(a), 363(b),
503(b)(2), 503(b)(3), 503(b)(4) or 503(b)(5) of the Bankruptcy Code shall (a) file its final application
for allowance of such compensation and/or reimbursement by no later than the date that is 120 days
after the Effective Date or such other date as may be fixed by the Bankruptcy Court, and (b) be paid
by or on behalf of the Debtor in full and in Cash in the amounts Allowed upon (i) the date the order
granting such award becomes a Final Order, or as soon thereafter as practicable, or (ii) such other
terms as may be mutually agreed upon by the claimant and the Debtor obligated for the payment of
such Allowed Claim. The Debtor is authorized to pay compensation for professional services
rendered and reimburse expenses incurred on behalf of the Debtor and the Creditors’ Committee
after the Effective Date in the ordinary course and without Bankruptcy Court approval.

        3.      Priority Tax Claims.

        Except to the extent that a holder of an Allowed Priority Tax Claim has been paid prior to the
Effective Date or agrees to less favorable treatment, each holder of an Allowed Priority Tax Claim
shall receive from one or more of the Debtor(s) obligated for the payment of such Allowed Priority
Tax Claim, and at the sole option of such Debtor(s), (i) Cash in an amount equal to the Allowed
amount of such Priority Tax Claim on the later of the Effective Date and the date such Priority Tax
Claim becomes an Allowed Priority Tax Claim, or as soon thereafter as is practicable, or (ii) equal
Cash payments to be made initially on the Effective Date or as soon thereafter as practicable and
monthly thereafter in an aggregate amount equal to such Allowed Priority Tax Claim, together with
interest at a fixed annual rate, over a period from the Effective Date through the fifth (5th)
anniversary after the Commencement Date; provided, however, that such election shall be without


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prejudice to the Debtor’s right to prepay such Allowed Priority Tax Claim in full or in part without
penalty.

C.       Classification and Treatment of Claims and Interests: Summary.

         The following is a designation of the classes of Claims and Interests under this Plan. In
accordance with Section 1123(a)(1) of the Bankruptcy Code, Claims that are not impaired have been
noted and will not vote on the Plan. A Claim or Interest is classified in a particular class only to the
extent that the Claim or Interest qualifies within the description of that class, and is classified in
another class or classes to the extent that any remainder of the Claim or Interest qualifies within the
description of such other class or classes. A Claim or Interest is classified in a particular class only to
the extent that the Claim or Interest is an Allowed Claim or Allowed Interest in that class and has not
been paid, released or otherwise satisfied before the Effective Date; a Claim or Interest which is not
an Allowed Claim or Interest is not in any Class. Notwithstanding anything to the contrary contained
in this Plan, no distribution shall be made on account of any Claim or Interest that is not an Allowed
Claim.

         A summary of the clerk’s Claims Register as of May 8, 2019 is attached hereto as Exhibit
“B.” In any instance where the information in a proof of claim listed on the Claims Register differs
from the information in the Debtor’s filed schedules, the information in the proof of claim will be
deemed the correct information for the terms of this Plan. However, the Debtor reserves the right to
object to any filed proof of claim, as more fully explained elsewhere in this Plan.

           Class                Impairment               Treatment


                                                         The creditor in this class will be paid in full its
                                                         approved claim amount over the course of a
                                                         120-month term with interest accruing at the
                                                         contractually agreed rate of 4.25% (Claim 14-
       Class 1 –            Claims ## 12 & 13            1), with a standard amortization schedule for
     Secured Claim       (collectively $69,084.90) the term. Except as otherwise provided, this
  ServisFirst Bank               Impaired                creditor will retain all security interests in any
                                                         collateral. New payments will begin on the
                                                         Effective Date. (Estimated monthly payment of
                                                         $707.69).




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                                             The creditor in this class will be paid in full its
                                             approved claim amount over the course of a 60-
                                             month term with interest accruing at the rate of
                                             Prime on the Effective date, as published in the
    Class 2 –
                                             Wall Street Journal, (5.50% as of March 5,
  Secured Claim     Claim # 5 ($2,257.71)
                                             2019), with a standard amortization schedule
 Lynda Hall, Tax          Impaired
                                             for the term. Except as otherwise provided, this
    Collector
                                             creditor will retain all security interests in any
                                             collateral. New payments will begin on the
                                             Effective Date. (Estimated monthly payment of
                                             $43.12).



                                             The secured status of the creditor in this Class
                                             is disputed. The Debtor expects this Class to be
                                             extinguished and the claims of creditor
                                             BancorpSouth Bank to be recharacterized as
                                             unsecured claims belonging in Class 5.
                                             However, to the extent any potion of creditor
                                             BancorpSouth Bank’s allowed claim remains
                                             secured for value in the property of the
    Class 3 –         Claims ## 10 & 11      Debtor’s estate, creditor BancorpSouth Bank
 Disputed Secured       (collectively        will be allowed a claim secured for the allowed
      Claim             $417,801.50)         amount in Class 3.
BancorpSouth Bank         Impaired
                                             The creditor in this class will be paid in full its
                                             approved claim amount over the course of an
                                             120-month term with interest accruing at the
                                             contractually agreed rate of 4.00% (Claim 11-
                                             1), with a standard amortization schedule for
                                             the term. Except as otherwise provided, this
                                             creditor will retain all security interests in any
                                             collateral. New payments will not begin until


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                                                  after the Bankruptcy Court has entered a final
                                                  order determining the amount of this creditor’s
                                                  allowed secured claims, or on the Effective
                                                  Date, whichever is later. (Estimated monthly
                                                  payment of $0.00).



                                                  To the extent the Debtor cannot pay the
                                                  claimants in this Class in full within 120 days
                                                  of the Effective Date, and to the extent that that
                                                  the claimants consent to such treatment, the
    Class 4 –                                     Debtor will begin making monthly payments of
  Administrative                                  $1,000.00, split on a pro-rata basis between all
                     Impaired, Not Entitled to
    Claims of                                     claimants on their approved claim amounts
                               Vote
  Professionals                                   until the total allowed claims in this class are
 Employed by the                                  paid in full. Payments to claimants in this class
     Debtor                                       will not begin until after the Bankruptcy Court
                                                  has entered a final order approving these
                                                  claimant    fees   and   expenses.    (Estimated
                                                  monthly payment of $1,000.00, split pro rata).



                                                  The creditor in this class will be paid in full is
                        Claims ## 1 & 17          approved claim amount over the course of a 60-
    Class 5 –
                         (priority portion)       month term with interest accruing at the rate of
Unsecured Priority
                     (collectively $20,417.43) 5.00%, with a standard amortization schedule
   Tax Claims
                     Impaired, Not Entitled to for the term. New payments will begin on the
       IRS
                               Vote               Effective Date. (Estimated monthly payment of
                                                  $438.03).



    Class 6 –
                     Claims ## 3, 4, 6, 7, 8, 9 Beginning on the Effective Date, the Debtor
General Unsecured
                     14, 15, 16 and 17 (general will commence monthly payments of $500.00,
     Claims
                        unsecured portion)        split on a pro-rata basis between all creditors in


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                          ($519,465.66),         this Class on their approved claim amounts,
                                 +               until the sum of 5% of the total allowed claims
                        Claims ## 10 & 11        in this class are paid, in addition to interest
                           (collectively         accruing at the federal post-judgment interest
                        $417,801.50; these       rate, as determined by 28 U.S.C. § 1961 (the
                        secured claims are       “Interest Rate”). The Interest Rate with be
                          expected to be         fixed to the statutory amount of interest on the
                      recategorized as wholly    date of confirmation for the term of the Plan
                        unsecured claims.        payments to creditors in this class. Interest will
                             Impaired            accrue on only on the amounts paid pursuant to
                                                 the plan, not the overall claim amounts.


                                                 Upon satisfaction of the above payment term,
                                                 any remaining balance on the claims in this
                                                 Class will be forever discharged. Payments to
                                                 creditors whose claims are disputed will not
                                                 begin until after the Bankruptcy Court has
                                                 entered a final order determining the amount of
                                                 the disputed creditors’ allowed claim, or on the
                                                 Effective Date, whichever is later. Payments to
                                                 creditors in this class are estimated to last for a
                                                 term of 88-94 months (Estimated monthly
                                                 payment of $500.00, split pro rata).



                                                 Equity interest holders will retain their
                                                 membership interests in Debtor and, in order to
    Class 7 –
                                                 comply with the new value exception to the
Interests of Equity          Impaired;
                                                 absolute priority rule, will contribute the sum
Interest Holders in    Not Entitled to Vote
                                                 of $1,000.00 to the Debtor entity by or before
     Debtor
                                                 the Plan’s Effective Date.




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        Note: Provided that all Claims will have been paid to the extent provided for in this Plan, the
Debtor will retain all Assets, subject to all remaining perfected encumbrances, as well as any
remainder of the Estate not otherwise liquidated.

D.      Debtor’s Rational for Determining Recovery Percentiles to Classes Contemplated in the
        proposed Plan

        1.      Secured Creditors (Class 1-2).

        The creditors in Classes 1 and 2 will be paid in full because these creditors are secured for
value in the Debtor’s property and is entitled to payment-in-full. 11 U.S.C. § 506(b).

        2.      Disputed Secured Creditor (Class 3).

        The creditor in Class 3 will only be paid as a secured claim to the extend its claim is secured
for value. 11 U.S.C. § 506. All remaining balances due to this creditor will re-recharacterized as
general unsecured debt.

        3.      Priority Unsecured Claims (Classes 4-5).

        The claimants in Classes 4 and 5 will be paid in full because these claims rare entitled to
priority pursuant to 11 U.S.C. § 507 and the Plan must contemplate payment in full before any
distributions are allowed to general unsecured creditors.

        4.      General Unsecured Creditors (Class 6).

        The Plan proposes paying unsecured creditors a total of 5% of the total allowed claims in this
class, together with interest on the claim amounts paid accruing at the federal post-judgment rate of
interest, based on the Debtor's net revenue available for plan-payments as projected for the years
2019-2023 and attached to this Disclosure Statement as Exhibit “E” and discussed in Section
VI(A)(2)(c). According to Ex. E, the Debtor expects to contribute the majority of its net revenue
available for plan-payments to paying the creditors in Classes 1-5, leaving little in funds remaining
for the general unsecured creditors, whose priority is lower that these other classes of creditors.
Accordingly, the Debtor proposed a payment of 10% because it is the largest amount the Debtor
believes it can reliably pay to its unsecured creditors, in accord with the budget in Ex. E, without
running the risk of likely defaulting on its payment obligations to the creditors in this class.

        5.      Equity Security Holders (Class 7).

        The equity securities holders will retain their interests in the Debtor, despite being lower-
priority claimants than the general unsecured creditors, because of the proposed satisfaction of New

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Value Exception to the Absolute Priority Rule, as discussed in Sections III(E)(2), (M), & (N) of this
Disclosure Statement.

E.      Means for Execution and Implementation of the Plan.

        1.      Funding of the Distribution.

        On the Effective Date, the Debtor shall first fund payments to the holders of Allowed
Administrative Claims to the extent such holders have not agreed to other treatment.

        2.      “New Value” To Be Contributed by Members.

        Because the “New Value” rule may apply, the equity security holders will contribute
$1,000.00 by the Effective Date of the Plan. The Debtor’s basis for determining the sum of $1,000.00
as new value is discussed in Sections III(M) & (N) of this Disclosure Statement.

        The Debtor will use the New Value for general operation expenses and towards to payment
of allowed creditors’ claims pursuant to the payment plan in its confirmed Plan. The Debtor will not
distribute any portion of the New Value to its equity security holders.

        3.       Corporate Action.

        On the Effective Date, the Debtor shall be authorized and directed to take all necessary and
appropriate actions to effectuate the transactions contemplated by the Plan and Disclosure Statement.

        4.      Preservation of Rights of Action.

        Except as otherwise provided in the Plan, or in any contract, instrument, release, or other
agreement entered into in connection with the Plan in accordance with Section 1123(b) of the
Bankruptcy Code, the Debtor shall retain and may enforce any claims, rights and causes of action
that the Debtor or the Estate may hold against any entity, including, without limitation, any claims,
rights or causes of action arising under Sections 544 through 551 or other sections of the Bankruptcy
Code or any similar provisions of state law, or any other statute or legal theory. The Debtor or any
successor to or designee thereof may pursue those rights of action, as appropriate, in accordance with
what is in the best interests of the Debtor.

        5.      Objections to Claims.

        Except as otherwise provided for with respect to applications of professionals for
compensation and reimbursement of expenses under Article 3 of the Plan, or as otherwise ordered by
the Bankruptcy Court after notice and a hearing, objections by any party other than the Debtor to
filed Claims shall be Filed and served upon the holder of such Claim or Administrative Claim not
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later than the Effective Date, unless this period is extended by the Court. Such extension may occur
ex parte. After the Effective Date, only the Debtor shall have the exclusive right to object to Claims.

F.      Funding and Methods of Distribution and Provisions for Treatment of Disputed Claims.

        1.      Funding of Distributions under the Plan.

        The Debtor’s normal cash flow shall be the sole source of funds for the payments to creditors
authorized by the U.S. Bankruptcy Court’s confirmation of this Plan. The Debtor reserves the right to
sell collateral for the purpose of providing some funding for the Plan as the Debtor deems necessary.

        2.      Distributions to Holders of Allowed Administrative Expense Claims.

        Commencing on the Effective Date, the Debtor shall, in accordance with the Plan, distribute
to each holder of a then unpaid Allowed Administrative Expense Claim in the Allowed amount of
such holder's Claim if and to the extent that the balance, if any, of such Claim is Allowed by Final
Order. The Debtor shall not tender a payment to the holders of Allowed Administrative Expense
Claims until all Disputed Claims that are alleged to be Administrative Claims have been allowed or
disallowed.

        3.      Disputed Claims.

        Notwithstanding any other provisions of the Plan, no payments or distributions shall be made
on account of any Disputed Claim until such Claim becomes an Allowed Claim, and then only to the
extent that it becomes an Allowed Claim.

        4.      Delivery of Distributions and Undeliverable or Unclaimed Distributions;
                Failure to Negotiate Checks.

        The Plan established procedures for the delivery of distributions and for the disposition of
undeliverable distributions and checks that are not timely negotiated.

        5.      De Minimis Distributions.

        No Cash payment of less than twenty dollars ($20.00) shall be made to any holder on account
of an Allowed Claim unless a request therefor is made in writing to the Debtor.

        6.      Compliance with Tax Requirements.

        In connection with the Plan, to the extent applicable, the Debtor shall comply with all
withholding and reporting requirements imposed on it by any governmental unit, and all distributions
pursuant to the Plan shall be subject to such withholding and reporting requirements.

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        7.      Setoffs.

        Unless otherwise provided in a Final Order or in this Plan, the Debtor may, but shall not be
required to, set off against any Claim and the payments to be made pursuant to the Plan in respect of
such Claim, any claims of any nature whatsoever the Debtor may have against the holder thereof or
its predecessor, but neither the failure to do so nor the allowance of any Claim hereunder shall
constitute a waiver or release by the Debtor of any such Claims the Debtor may have against such
holder or its predecessor.

G.      Treatment of Executory Contracts and Unexpired Leases.

        The Plan constitutes and incorporates a motion by the Debtor to reject, as of the Effective
Date, all pre-petition executory contracts and unexpired leases to which the Debtor is a party, except
for any executory contract or unexpired lease that (i) has been assumed or rejected pursuant to a Final
Order, or (ii) is the subject of a pending motion for authority to assume the contract or lease filed by
the Debtor prior to the Confirmation Date. The Plan establishes a bar date for filing Rejection Claims
not already barred.

H.      Effects of Plan Confirmation.

        1.      No Liability for Solicitation or Participation.

        As specified in Section 1125(e) of the Bankruptcy Code, Persons that solicit acceptances or
rejections of the Plan and/or that participate in the offer, issuance, sale, or purchase of securities
offered or sold under the Plan, in good faith and in compliance with the applicable provisions of the
Bankruptcy Code, are not liable, on account of such solicitation or participation, for violation of any
applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan
or the offer, issuance, sale, or purchase of securities.

        2.      Limitation of Liability.

        Neither the Debtor and any professional Persons retained by them; any of their affiliates nor
any of their officers, directors, partners, associates, employees, members or agents (collectively the
"Exculpated Persons"), shall have or incur any liability to any Person for any act taken or omission
made in good faith in connection with or related to the Bankruptcy Case or actions taken therein,
including negotiating, formulating, implementing, confirming or consummating the Plan, the
Disclosure Statement, or any contract, instrument, or other agreement or document created in
connection with the Plan. The Exculpated Persons shall have no liability to any Creditors or Equity
Security Holders for actions taken under the Plan, in connection therewith or with respect thereto in

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good faith, including, without limitation, failure to obtain Confirmation of the Plan or to satisfy any
condition or conditions, or refusal to waive any condition or conditions, precedent to Confirmation or
to the occurrence of the Effective Date. Further, the Exculpated Persons will not have or incur any
liability to any holder of a Claim, holder of an Interest, or party-in-interest herein or any other Person
for any act or omission in connection with or arising out of their administration of the Plan or the
property to be distributed under the Plan, except for gross negligence or willful misconduct as finally
determined by the Bankruptcy Court, and in all respects such persons will be entitled to rely upon the
advice of counsel with respect to their duties and responsibilities under the Plan.

          3.     Other Documents and Actions.

          The Debtor as Debtor-In-Possession may execute such documents and take such other action
as is necessary to effectuate the transactions provided for in the Plan.

          4.     Term of Injunctions or Stays.

          Unless otherwise provided, all injunctions or stays provided for in the Reorganization Case
pursuant to Sections 105 or 362 of the Bankruptcy Code or otherwise and in effect on the
Confirmation Date shall remain in full force and effect until the Effective Date.

          So long as the Debtor’s Chapter 11 case is not dismissed or the Debtor has failed to cure any
Plan default, as described in Section K below, the protections afforded it by 11 U.S.C. § 362 will
remain in full effect to stay all collection actions of any pre-petition debts, claims, liens, or other
related occurrences against the Debtor, the bankruptcy estate, or property of the bankruptcy estate for
the pendency of its Chapter 11 Plan.

          5.     Stay on Governmental Units from Engaging in any Collection Action Against
                 any Responsible Persons During the Pendency of the Plan.

          Unless otherwise provided, all Governmental Units, as defined by the Bankruptcy Code, are
stayed from engaging in any collection action of any nature against any employee, owner, manager,
director, or principal of the Debtor relating to or arising from a tax liability of the Debtor which is
concurrently or jointly assessed against any employee, owner, manager, director, or principal of the
Debtor.

          This section applies to any non-debtors deemed a “responsible person” and assessed the Trust
Fund Recovery Penalty from a tax due arising from or due and owed by the Debtor in the ordinary
course of operating its business. All Governmental Units must first look to the Debtor for satisfaction
of any such tax debts and then may only take collection action against any responsible person if the
Debtor’s Chapter 11 case has been dismissed by the Bankruptcy Court, the Debtor’s Plan fails to
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provider for satisfaction of the amounts to which any non-debtor is jointly responsible, or the Debtor
has failed to cure any Plan default to that Governmental Unit, as described in Section K, below.

I.     Confirmability of Plan and Cramdown.

       The Debtor requests Confirmation under Section 1129(b) of the Bankruptcy Code if any
impaired class does not accept the Plan pursuant to Section 1126 of the Bankruptcy Code. In that
event, the Debtor reserves the right to modify the Plan to the extent, if any, that Confirmation of the
Plan under Section 1129(b) of the Bankruptcy Code requires modification.

J.     Retention of Jurisdiction.

       The Plan provides for the Bankruptcy Court to retain the broadest jurisdiction over the
reorganization case as is legally permissible so that the Bankruptcy Court can hear all matters related
to the consummation of the Plan, the claims resolution process, and the administration of the Chapter
11 Estate.

K.     Default and Opportunity to Cure.

       During the pendency of this Plan, should any party-in-interest aver that the Debtor has
materially defaulted to any of its obligations under this Plan, such party must give written notice of
the default to the Debtor and the Debtor’s Counsel listed below. The Debtor will have 21 days from
receipt of the notice to cure any such default. If the Debtor fails to cure within this 21-day deadline,
the party giving notice of the default may proceed accordingly with any legal rights available under
applicable law.

L.     Notices.

       Notices to be provided under this Plan shall be transmitted to the Debtor by service to both of
the following addresses:

       Primary Providers of Alabama, Inc.
       c/o Their Attorneys
       SPARKMAN, SHEPARD & MORRIS, P.C.
       P.O. Box 19045
       Huntsville, AL 35804

                  and

       Primary Providers of Alabama, Inc.
       1878 Jeff Rd, Ste G
       Huntsville, AL 35806


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M.      The Absolute Priority Rule and New Value to be Contributed.

        The leading decision on the absolute priority rule is Bank of America National Trust and
Savings Association v. 203 North LaSalle Street Partnership, 526 U.S. 434, 442, 119 S.Ct. 1411,
1416, 143 L.Ed.2d 607 (1999), in which the U.S. Supreme Court held that the debtor’s pre-
bankruptcy equity holders could not, over the objection of a senior class of impaired creditors,
contribute new capital to retain ownership interests in the new entity, when that opportunity was
given exclusively to the old equity holders without consideration of alternatives or market
valuation. Id. at 437, 119 S.Ct. at 1414.

        Since 203 North LaSalle, a number of federal courts have held that a plan of reorganization
must:

        1. Allow for competing plans; and
        2.   Subject the opportunity to own the reorganized company to a “market place” test by
             allowing others to bid.

Cf. In re Global Ocean Carriers Ltd., 251 B.R. 31 (Bankr. De. 2000); In re Situation Management
Systems, Inc., 252 B.R. 859 (Bankr. Mass. 2000). In the present case, the exclusivity period for filing
competing plans has passed. Thus, it is not necessary for the Debtor’s Plan to specify that competing
plans are allowed.

        Should the Absolute Priority Rule apply, in order to comply with the “market place” test the
Debtor will advertise the opportunity to purchase the Debtor in at least two newspapers of general
circulation in Alabama and at least two trade publications with circulation outside of Alabama.

        Should parties other than the current owner desire to submit competing offers to purchase the
Debtor company, those offers shall be submitted to the Court by or before a deadline to be
established and noticed to all parties-in-interest to this case. The Court will then hold a hearing to
determine the terms, conditions, and bidding procedures of an auction to purchase the Debtor
company.

        The Debtor will use this New Value for general operation expenses and towards to payment
of allowed creditor claims pursuant to the confirmed Plan of Reorganization. The Debtor will not
distribute any portion of the New Value to its equity security holders.




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N.              Basis of Determining the New Value to be Contributed by the Debtor’s Equity
                Security Holders.

        The equity security holders’ offer of $1,000.00 as new value is based upon the following
analysis:

                (1)     The Debtor is currently insolvent, based on the liquidation analysis discussed
                        in Section VI(A)(2)(c) and in the attached Exhibit “C”;

                (2)     Should the Debtor liquidate, allowed general unsecured creditors should
                        expect a payout of less than 3% of their allowed claims with all junior classes
                        extinguished;

                (3)     No property or residual interests would remain following liquidation;

                (4)     Equity security holders would expect to receive no return from the
                        liquidation;

                (5)     Pursuant to the terms of the plan of reorganization proposed above and the
                        Debtor’s projected financials in attached as Exhibit “E-G”, the Debtor
                        projects to remain insolvent until the completion of the entirety of its monthly
                        payment plan in its Plan of Reorganization; and

                (6)     The Debtor does not expect to make any member distributions during the
                        terms of its payment plan in effect under its Plan of Reorganization.

        Accordingly, any purchaser of the Debtor’s equity security interest bears the possibility that
its security interest will have no value until five years after the Effective Date. While the Debtor
proposes its Plan of Reorganization in good-faith and believes that it can successfully reorganize,
there is substantial risk in any business investment for equity-security holders, especially for an
insolvent company attempting to reorganize.

        The $1,000.00 offered by the current owner of the Debtor is made good-faith to show his
ongoing commitment to acting it the best interest of the Debtor and its creditors. This offer represents
a contribution of funds in excess of liquidation or book value of the Debtor.

        Should parties other than the current security holders desire to submit competing offers to
purchase the Debtor company, those offers shall be submitted to the Court by or before a deadline to
be established and noticed to all parties-in-interest to this case. The Court will then hold a hearing to
determine the terms, conditions, and bidding procedures of an auction to purchase the Debtor
company.
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                                                  V.
           CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

        The following discussion is a summary of certain federal income tax aspects of the Plan and
is for general information only. This discussion is based upon existing provisions of the Internal
Revenue Code of 1986, as amended ("IRC"), existing regulations thereunder, and current
administrative rulings and court decisions. No assurance can be given that legislative or
administrative changes or court decisions may not be forthcoming which would require significant
modification of the statements expressed in this section. The discussion does not address foreign,
state or local tax consequences of the Plan, nor does it purport to address the federal tax
consequences of the Plan to special classes of taxpayers (such as foreign companies, nonresident
alien individuals, S corporations, mutual funds, insurance companies, financial institutions, small
business investment companies, regulated investment companies, broker-dealers and tax-exempt
organizations). Accordingly, it should not be relied upon for purposes of determining the specific tax
consequences of the Plan with respect to a particular holder of a Claim or Interest.

        Due to the complexity of the transactions to be consummated pursuant to the Plan, some of
which are discussed below; the lack of applicable legal precedent and the possibility of changes in
law; differences in the nature of various Claims; differences in individual Claim holders' methods of
accounting; and the potential for disputes as to legal and factual matters, the federal income tax
consequences described herein are subject to significant uncertainties.

        NO RULING HAS BEEN SOUGHT OR OBTAINED FROM THE IRS WITH RESPECT
TO ANY OF THE TAX ASPECTS OF THE PLAN AND NO OPINION OF COUNSEL HAS
BEEN OBTAINED BY DEBTOR WITH RESPECT THERETO. NO REPRESENTATIONS OR
ASSURANCES ARE BEING MADE WITH RESPECT TO THE FEDERAL INCOME TAX
CONSEQUENCES AS DESCRIBED HEREIN. CERTAIN TYPES OF CLAIMANTS AND
INTEREST HOLDERS MAY BE SUBJECT TO SPECIAL RULES NOT ADDRESSED IN THIS
SUMMARY OF FEDERAL INCOME TAX CONSEQUENCES. THERE ALSO MAY BE STATE,
LOCAL, OR FOREIGN TAX CONSIDERATIONS APPLICABLE TO A HOLDER OF A CLAIM
OR INTEREST THAT ARE NOT ADDRESSED HEREIN. EACH HOLDER OF A CLAIM OR
INTEREST AFFECTED BY THE PLAN MUST CONSULT, AND RELY UPON, HIS OR HER
OWN TAX ADVISOR REGARDING THE SPECIFIC TAX CONSEQUENCES OF THE PLAN
WITH RESPECT TO THAT HOLDER'S CLAIM OR INTEREST. THIS INFORMATION MAY
NOT BE USED OR QUOTED IN WHOLE OR IN PART IN CONNECTION WITH THE
OFFERING FOR SALE OF SECURITIES.

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A.      Federal Income Tax Consequences to Debtor.

        Under the Plan, the Debtor will be paying Plan liabilities from normal cash flow. There
should be no net operating profit or loss to the Debtor following the Effective Date resulting from the
transactions contemplated by the Plan.

B.      Federal Income Tax Consequences to Holders of Claims.

        1.      Holders of Claims.

        Holders of Claims will recognize a gain or loss equal to their respective amounts realized (if
any) under the Plan in respect of their Claims less their respective tax bases in their Claims. The
amounts realized for this purpose generally will equal the sum of the cash and the fair market value
of any other consideration received under the Plan in respect of their Claims. The recognition of gain
or loss by a holder of Claims may also be affected by the holder's accounting method and other
factors and circumstances particular to such holder.

        Holders of Claims not previously required to include in their taxable income any accrued but
unpaid interest on a Claim may be treated as receiving taxable interest, to the extent any
consideration they receive under the Plan is allocable to such accrued but unpaid interest. Holders
previously required to include in their taxable income any accrued but unpaid interest on a Claim
may be entitled to recognize a deductible loss, to the extent that such accrued but unpaid interest is
not satisfied under the Plan.

C.      Backup Withholding and Information Reporting.

        Payors of interest, dividends, and certain other reportable payments are generally required to
withhold thirty-one percent (31%) of such payments if the payee fails to furnish such payee's correct
taxpayer identification number (social security number or employer identification number), to the
payor. The Debtor may be required to withhold a portion of any payments made to a holder of an
Allowed Claim that does not provide its taxpayer identification number.

D.      Importance of Obtaining Professional Tax Assistance.

        THE FOREGOING IS INTENDED AS A SUMMARY ONLY, AND IS NOT A
SUBSTITUTE FOR CAREFUL TAX PLANNING WITH A TAX PROFESSIONAL. THE
FEDERAL, STATE AND LOCAL INCOME AND OTHER TAX CONSEQUENCES OF THE
PLAN ARE COMPLEX AND, IN SOME CASES, UNCERTAIN. SUCH CONSEQUENCES MAY
ALSO VARY BASED ON THE PARTICULAR CIRCUMSTANCES OF EACH CLAIM
HOLDER. ACCORDINGLY, EACH CLAIM AND INTEREST HOLDER IS STRONGLY URGED
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TO CONSULT WITH HIS, HER OR ITS OWN TAX ADVISOR REGARDING THE FEDERAL,
STATE AND LOCAL INCOME AND OTHER TAX CONSEQUENCES UNDER THE PLAN.

                                                   VI.
             VOTING PROCEDURES AND CONFIRMATION REQUIREMENTS.

A.      Confirmation of the Plan.

        1.      Confirmation Hearing.

        Section 1128 of the Bankruptcy Code requires the Court, after notice, to hold a hearing on
whether the Plan and its proponents have fulfilled the confirmation requirements of Section 1129 of
the Bankruptcy Code. A hearing (the "Confirmation Hearing") to consider confirmation of the Plan
will be scheduled at the United States Bankruptcy Court for the Northern District of Alabama. The
Confirmation Hearing may be adjourned from time to time by the Court without further notice except
for the announcement of the adjourned date at the Confirmation Hearing.

        Any objection to confirmation must be made in writing and must specify in detail the name
and the address of the Person objecting, the grounds for the objection and the nature and amount of
the Claim or Interest held by the objector. Any such objection must be filed with the Court and
served upon the parties designated in the notice of the confirmation hearing (the "Confirmation
Notice") on or before a date which will be specified in the Order approving this Disclosure
Statement. Unless an objection to confirmation is timely served and filed, it will not be considered by
the Court.

        2.      Requirements for Confirmation of the Plan.

        In order to confirm the Plan, the Bankruptcy Code requires that the Court make a series of
findings concerning the Plan and the Debtor, including that: (a) Claims and Interests are classified in
the Plan in a permissible manner; (b) the Plan complies with the applicable provisions of the
Bankruptcy Code; (c) the Debtor has complied with applicable provisions of the Bankruptcy Code;
(d) the Debtor has proposed the Plan in good faith and not by any means forbidden by law; (e) the
disclosure required by Section 1125 of the Bankruptcy Code has been made; (f) the Plan has been
accepted by the requisite majorities of holders of Claims and Interests in each impaired Class of
Claims or Interests, or, if accepted by at least one but not all of such Classes, is "fair and equitable,"
and does not discriminate unfairly as to any non-accepting class, as required by the "cramdown"
provisions of Section 1129(b) of the Bankruptcy Code; (g) the Plan is feasible; (h) the Plan is in the
"best interests" of all holders of Claims and Interests in an impaired class by providing to such
holders property of a value, as of the Effective Date, that is not less than the amount that such holder
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would receive or retain in a Chapter 7 liquidation, unless each holder of a Claim or Interest in such
Class has accepted the Plan; and (i) all bankruptcy fees payable to the Clerk of the Court and the
Bankruptcy Administrator under 28 U.S.C. § 1930 have been paid, or the Plan provides for the
payment of such fees on the Effective Date.

                a.      Acceptance.

        Pursuant to Section 1126 of the Bankruptcy Code, the Plan is accepted by an impaired Class
of Claims if holders of two-thirds in dollar amount and a majority in number of Claims of that Class
vote to accept the Plan. Only the votes of those holders of Claims who actually vote (and are entitled
to vote) to accept or reject the Plan count in this tabulation. The Plan will be accepted by an impaired
Class of Interests if holders of two-thirds of the amount of outstanding shares in such class vote to
accept the Plan (and only those voting count in the tabulation). Pursuant to Section 1129(a)(8), all the
impaired Classes of Claims and Interests must vote to accept the Plan in order for the Plan to be
confirmed on a consensual basis (and at least one such Impaired Class must accept the Plan without
including the acceptance by an insider). However, under the cramdown provisions of Section
1129(b), only one impaired Class of Claims (determined without including the acceptance by an
insider) needs to accept the Plan if the other conditions to cramdown are met.

        The Plan has four Classes of Claims which are Impaired and are entitled to vote on the Plan
(Classes 1 - 3 & Class 6).

                b.      Best Interests Test/Liquidation Analysis.

        Notwithstanding the acceptance of the Plan by each Impaired Class, Section 1129(a)(7) of the
Bankruptcy Code requires that the Bankruptcy Court determine that the Plan is in the best interests of
each holder of a Claim or Interest in an Impaired Class if any holder in that Class has voted against
the Plan. Accordingly, if an Impaired Class under the Plan does not unanimously accept that Plan, the
"best interests" test requires that the Bankruptcy Court find that the Plan provides to each member of
such Impaired Class a recovery on account of the member's Claim or Interest that has a value, as of
the Effective Date, that is not less than the value of the distribution that each such member would
receive or retain if Debtor were liquidated under Chapter 7 of the Bankruptcy Code commencing on
the Effective Date.

        To determine what members of each impaired Class of Claims would receive if the Debtor’s
estate was liquidated under Chapter 7, the Court must consider the values that would be generated
from a liquidation of the Debtor’s assets and properties in the context of a hypothetical liquidation



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under Chapter 7. From a review of the Debtor’s assets and liabilities, it is apparent that liquidation
would not be a feasible solution to the repayment of these Debtor’s debts.

        There are no long-term accounts receivables or residuary contact rights. Accordingly, a
Chapter 7 Trustee would need to liquidate the Debtor’s assets. It is highly likely that general
unsecured creditors little, if any, distributions in a Chapter 7 liquidation of the Debtor’s estate. The
Debtor has prepared a detailed liquidation analysis which is attached hereto as Exhibit “C.”

        Thus, the Plan, which provides for the payment of secured and priority claims, retention of
the Debtor’s property, and provides a distribution to general unsecured creditors, is a superior option
to a Chapter 7 liquidation.

                c.      Feasibility.

        Section 1129(a)(11) of the Bankruptcy Code requires a finding that Confirmation of the Plan
is not likely to be followed by the liquidation, or the need for further financial reorganization, of the
Debtor or any successor in interest, unless as here, liquidation is expressly contemplated by the Plan.
The Debtor believes that it will be able to perform its obligations under the Plan and that therefore
the Plan is feasible within the meaning of Section 1129(a)(11) of the Bankruptcy Code.

        As stated above, the Debtor closed its second medical-practice location in 2018 and still has
personnel on its payroll that assist with the integration of the two practice locations into the one clinic
presently operating. The Debtor expects to encounter staffing redundancies in the months following
confirmation of its Plan; as the Debtor collects its outstanding accounts receivable related to the
second location and streamlines its existing medical billing expenses, it believes that it may lay-off
and/or cut hours for support staff, making the business more profitable. Additionally, the Debtor set a
marketing budget that it expects to increase the business’s visibility to potential customers, and the
Debtor expects to see growth in its gross-revenue over the coming months. Profits from cost-cutting
are expected to level out during the year 2020 as revenue and personnel costs become stable.

        The Debtor expects its business to become both profitable and its revenues predictable
following confirmation of its Plan. For the foreseeable period to come following confirmation of its
Plan, the Debtor projects steady revenue and expenses. In support of this conclusion and the Court
making a finding of feasibility, the Debtor has prepared the following:

        -       The Debtor’s Profit and Loss Statements for 2014-2018 are attached hereto as Exhibit
                “D.”



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        -       The Debtor’s Projected Profit and Loss Statement for 2019 (on a quarterly basis) is
                attached hereto as Exhibit “E.”

        -       The Debtor’s Projected Profit and Loss Statement for 2020 (on a quarterly basis) is
                attached hereto as Exhibit “F.”

        -       The Debtor’s Projected Profit and Loss Statement for years 2019-2023 are attached
                hereto as Exhibit “G.”

                d.      Classification.

        Section 1122 of the Bankruptcy Code sets forth the requirements relating to classification of
claims. Section 1122(a) provides that claims or interest may be placed in a particular class only if
they are substantially similar to the other claims or interest in that class. The Debtor believes that all
Classes under the Plan satisfy the requirements of Section 1122(a). The Debtor believes that the
classification of Claims set forth in the Plan is appropriate in classifying substantially similar Claims
together, and does not discriminate unfairly in the treatment of those Classes. The Debtor believes
that the Plan adheres to the absolute priority rule and treats holders of Claims and Interests in
accordance with their contractual entitlement and applicable law.

B.      Non-Consensual Confirmation.

        The Bankruptcy Code provides for confirmation of the Plan even if it is not accepted by all
impaired Classes, as long as at least one impaired Class of Claims has accepted it (without counting
the acceptances of insiders). These so-called "cramdown" provisions are set forth in Section 1129(b)
of the Bankruptcy Code. The Plan may be confirmed under the cramdown provisions if, in addition
to satisfying the other requirements of Section 1129 of the Bankruptcy Code, it (i) is "fair and
equitable" and (ii) "does not discriminate unfairly" with respect to each Class of Claims or Interests
that is impaired under, and has not accepted, such Plan.

        1.      Fair and Equitable Standard.

        With respect to a dissenting Class of unsecured creditors, the "fair and equitable" standard
requires, among other things, that the Plan contain one of two elements. It must provide either that
each unsecured creditor in the Class receive or retain property having a value, as of the Effective
Date, equal to the Allowed amount of its Claim, or that no holder of Allowed Claims or Interests in
any junior Class may receive or retain any property on account of such Claims or Interest. The strict
requirements as to the allocation of full value to dissenting Classes before junior Classes can receive
a distribution are known as the "absolute priority rule." In addition, the "fair and equitable" standard

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has also been interpreted to prohibit any class senior to a dissenting class from receiving under a plan
more than one hundred percent (100%) of its Allowed Claims.

        2.      The Plan Must Not Discriminate Unfairly.

        As a further condition to approving a cramdown, the Bankruptcy Court must find that the
Plan does not "discriminate unfairly" in its treatment of dissenting Classes. A Plan of Reorganization
does not "discriminate unfairly" if (a) the Plan does not treat any dissenting impaired Class of Claims
or Interests in a manner that is materially less favorable than the treatment afforded to another Class
with similar legal Claims against or Interests in the Debtor and (b) no Class receives payments in
excess of that which it is legally entitled to receive for its Claims or Interests. The Debtor believes
that the Plan does not discriminate unfairly as to any impaired Class of Claims or Interests.

        If any impaired Class of Claims entitled to vote on the Plan does not accept the Plan by the
requisite majority provided in Section 1126(c) of the Bankruptcy Code, the Debtor reserves the right
to amend the Plan or undertake to have the Bankruptcy Court confirm the Plan under Section 1129(b)
of the Bankruptcy Code or both. With respect to impaired Classes of Claims or Equity Interests that
are deemed to reject the Plan, the Debtor will request that the Bankruptcy Court confirm the Plan
pursuant to Section 1129(b) of the Bankruptcy Code.

C.      Voting Procedures and Requirements.

        1.      Voting Requirements - Generally.

        Pursuant to the Bankruptcy Code, only holders of Claims that are allowed pursuant to Section
502 of the Bankruptcy Code and that are impaired under the terms and provisions of the Plan are
entitled to vote to accept or reject that Plan.

        All creditors who filed proofs of claim in an amount different from the amount set forth in
the Debtor’s Schedules or whose Claim was not included in the Debtor’s Schedules are treated as the
holder of a Disputed Claim under the Plan. However, all creditors whose Claims are impaired under
the Plan will be treated as holders of Allowed Claims for voting purposes only. A Claim recorded in
the Schedules or in the Clerk's records as wholly unliquidated, contingent and/or undetermined shall
be accorded one vote and valued at one dollar for purposes of Section 1126(c) of the Bankruptcy
Code, unless the holder of such Claim files with the Court and serves a request for temporary
allowance of such Claim in a greater amount for voting purposes. If a Claim is recorded in the
Schedules or in the Clerk's records as unliquidated, contingent and/or undetermined in part, the
holder of the Claim shall be entitled to vote that portion of the claim that is liquidated, non-
contingent and undisputed in the liquidated, non-contingent and undisputed amount, subject to any
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limitations set forth herein and unless otherwise ordered by the Court. The Debtor’s agreement to
allow such creditors to vote on the Plan shall not waive the Debtor’s right to treat such Claims as
Disputed Claims for all other purposes.

        Pursuant to the Bankruptcy Code a class of claims or interests is "impaired" if the legal,
equitable, or contractual rights attaching to the claims or interests of that class are altered, other than
by curing defaults and reinstating maturity.

        Classes of Claims that are not impaired are not entitled to vote on the Plan, are presumed to
have accepted the Plan and will not receive a Ballot. As set forth above, the Claims in Class 1 are not
impaired, and such Class of Claims is not entitled to vote on the plan and is presumed to have
accepted the Plan pursuant to Section 1126(f) of the Bankruptcy Code. The classification of Claims
and their designation as impaired or not impaired is summarized above in Section V, (A) entitled
"Classification and Treatment of Claims and Interests."

        2.      Voting Procedures.

        A Ballot for voting to accept or reject the Plan will be enclosed with each copy of the
Disclosure Statement that is sent by the Court to parties entitled to vote. In most cases, the Ballot
enclosed with this Disclosure Statement will be printed with the amount of your Claim for voting
purposes. Such amount is based on your proof of claim, the Debtor’s Schedules or an order of the
Court. All votes to accept or reject the Plan must be cast by using the Ballot enclosed with this
Disclosure Statement.

        IF YOU HAVE A CLAIM THAT IS IMPAIRED UNDER THE PLAN ENTITLING YOU
TO VOTE AND YOU DID NOT RECEIVE A BALLOT, RECEIVED A DAMAGED BALLOT,
OR LOST YOUR BALLOT, PLEASE CONTACT THE U.S. BANKRUPTCY COURT AT (256)
353-2817. IF YOU HOLD CLAIMS IN MORE THAN ONE CLASS, YOU MAY RECEIVE MORE
THAN ONE BALLOT. YOU SHOULD COMPLETE, SIGN AND RETURN EACH BALLOT
YOU RECEIVE.

        Consistent with the provisions of Bankruptcy Rule 3018, the Court will fix a date as the
record date for determining the holders of Claims who are entitled to receive a copy of this
Disclosure Statement and to vote to accept or reject the Plan (the "Ballot Record Date"). Entities that
acquire Claims after the Ballot Record Date will not be entitled to vote on the Plan.

        Under the Bankruptcy Code, for purposes of determining whether the requisite acceptances
have been received, only those holders that vote to accept or reject the Plan will be counted. Votes
cannot be transmitted orally or by facsimile transmission. Accordingly, it is important that you return
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your signed and completed Ballot(s) promptly. Failure by any holder to send a duly executed Ballot
with an original signature will be deemed an abstention by such holder with respect to a vote on the
Plan and will not be counted as vote for or against the Plan. To accept Plan, the holder must check
the box entitled "accept the Plan" on the appropriate Ballot. Any Ballot cast that does not indicate
whether the holder of the Claim or Interest is voting to accept or reject the Plan will not be counted
as either an acceptance or rejection of the Plan. A vote may be disregarded if the Bankruptcy Court
determines, after a hearing, that such acceptances or rejection was not solicited or procured in good
faith or other in accordance with the provision of the Bankruptcy Code or if a Claim was voted in bad
faith.

         3.     Voting Deadline.

         Voting on the Plan by each holder of a Claim in an Impaired Class is important. After
carefully reviewing the Plan and this Disclosure Statement, please indicate your vote on each Ballot
and return it in the pre-addressed envelope provided for this purpose.

         IN ORDER TO BE COUNTED, BALLOTS MUST BE SIGNED AND RETURNED SO
THAT THEY ARE RECEIVED EITHER BY THE U.S. BANKRUPTCY COURT NO LATER
THAN 4:30 P.M. CENTRAL STANDARD TIME ON THE DATE SET BY THE COURT (THE
"VOTING DEADLINE”). TO HAVE YOUR VOTE COUNT, YOU MUST COMPLETE, SIGN
AND RETURN THE BALLOT TO:

         Clerk
         U.S. Bankruptcy Court
         P.O. Box 2775
         Decatur, Alabama 35602

         PLEASE FOLLOW THE DIRECTIONS CONTAINED ON THE ENCLOSED BALLOT
CAREFULLY. BALLOTS THAT ARE RECEIVED AFTER THE VOTING DEADLINE WILL
NOT BE ACCEPTED OR USED BY THE DEBTOR IN SEEKING CONFIRMATION OF THE
PLAN. IT IS OF THE UTMOST IMPORTANCE TO DEBTOR THAT YOU VOTE PROMPTLY
TO ACCEPT THE PLAN.




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       Respectfully submitted this the 16th day of May, 2019.


                                               PRIMARY PROVIDERS OF ALABAMA, INC.


                                               /s/ Jason Allman
                                               Jason Allman, President


                                               /s/ Tazewell T. Shepard III
                                               Tazewell T. Shepard III
                                               Tazewell T. Shepard IV
                                               Attorneys for the Debtor

                                               SPARKMAN, SHEPARD & MORRIS, P.C.
                                               P. O. Box 19045
                                               Huntsville, AL 35804
                                               Tel: (256) 512-9924
                                               Fax: (256) 512-9837



                                  CERTIFICATE OF SERVICE

       This is to certify that this the 16th day of May, 2019, I have this day served the foregoing
motion on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix and Richard
Blythe, Office of the Bankruptcy Administrator, by electronic service through the Court’s CM/ECF
system and/or by placing a copy of same in the United States Mail, postage pre-paid.


                                               /s/ Tazewell T. Shepard III
                                               Tazewell T. Shepard III




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